Case 15-13891-abl   Doc 124-4   Entered 03/04/16 15:20:23   Page 1 of 4




             Exhibit “D”
     Case 15-13891-abl          Doc 124-4     Entered 03/04/16 15:20:23       Page 2 of 4

     David A. Riggi, Esq.
     5550 Painted Mirage Rd. Suite 120
 1   Las Vegas, NV 89149
     Ph: 1-702-463-7777
 2   Fax: 1-888-306-7157
     E-mail:RiggiLaw@gmail.com
 3   Attorney for the Debtor in Possession

 4
                                 UNITED STATES BANKRUPTCY COURT
 5
                                      FOR THE DISTRICT OF NEVADA
 6   In re:
                                                              Case No.: 15-13891 ABL
 7   WHISPERING PINES, INC.,
                                                              Chapter 11
 8                                 Debtor in Possession
                                                              Date: OST
 9                                                            Time: OST
10
                                            ORDER RE:
11
                                      DEBTOR’S MOTION FOR
12                         APPROVAL OF SALE OF PROPERTY OF THE ESTATE
                          FREE AND CLEAR OF LIENS AND ENCUMBRANCES AND
13                               DISTRIBUTION OF SALE PROCEEDS
14

15                    Upon the Motion of the Debtor in Possession Whispering Pines, Inc., for allowance
16
     and approval of the sale of a 286.69 acre tract of land located at 22945 Georgia Highway 3, Thomas
17
     County, Georgia (“Property”); and due notice of the Motion and the hearing of the Motion having
18
     been given to all parties entitled hereto; and a hearing having been held before this Court on        ,
19

20   2016, to consider approval of the Motion, at which time all parties in interest were afforded an

21   opportunity to be heard; it is hereby:
                    ORDERED that the Motion is GRANTED and the purchase and sale of the
22
     Property, in the amount of $1,278,750.00 is approved in all respects, and shall be deemed in full
23

24   force and effect, binding and benefiting Debtor, its bankruptcy estate and Buyer; and it is further

25                    ORDERED that the sale shall be free and clear of all liens and encumbrances, but
26   that any purchase-money funding to effectuate the sale may, after the freeing and clearing from all
27
28
                                                          1
     Case 15-13891-abl          Doc 124-4   Entered 03/04/16 15:20:23      Page 3 of 4


     current liens and encumbrances, become a lien and encumbrance in a manner contemplated by the
 1
     Buyer and the Debtor; and it is further
 2
                     ORDERED that immediate distribution of the proceeds of the sale, as
 3
     contemplated in the Motion and Purchase Agreement, is allowed; and it is further
 4

 5                   ORDERED that Debtor is authorized and empowered to execute and deliver the

 6   Purchase Agreement to Buyer, and to implement and consummate all of the transactions and

 7   perform all obligations contemplated by the Purchase Agreement, including, without limitation, to
 8
     sell the Property to Buyer, all on the terms of the Purchase Agreement, for the purchase price set
 9
     forth therein, and determined in accordance with the Purchase Agreement
10
                     ORDERED that the failure specifically to include any particular provision of the
11
     Purchase Agreement in this Order shall not diminish or impair the effectiveness of such provision,
12

13   it being the intent of the Court that the Purchase Agreement be authorized and approved in its

14   entirety; and it is further
15                   ORDERED Each and every federal, state and local governmental agency or
16
     department is hereby directed to accept any and all documents and instruments necessary and
17
     appropriate to consummate the transaction contemplated by the Purchase Agreement and this
18
     Order; and it is further
19

20                   ORDERED that the Sale Order is binding on any and all successors and assigns,

21   including any trustee appointed after entry of the Sale Order pursuant to Section 1104 of the

22   Bankruptcy Code or pursuant to Sections 701 or 702 of the Bankruptcy Code if the Debtors’
23   bankruptcy cases are converted to a case under chapter 7 of the Bankruptcy Code; and (ii) provide
24
     that except as otherwise agreed by the parties, the rights and obligations of the parties created
25
     under the Purchase Agreement and the Sale Order shall not be altered, modified, or impaired by
26

27
28
                                                     2
     Case 15-13891-abl       Doc 124-4       Entered 03/04/16 15:20:23    Page 4 of 4


     the terms of any plan or order confirming any plan, and shall survive confirmation of a plan and
 1
     closing or dismissal of Debtor’s bankruptcy case
 2
                     ORDERED that this Court retains jurisdiction to hear all matters relating to or
 3
     arising from the entry of this Order.
 4

 5                   IT IS SO ORDERED.

 6

 7   Submitted by:
 8
     /s/ David A. Riggi
 9   David A. Riggi, Esq.
     Nevada Bar No. 4727
10   5550 Painted Mirage Rd., Suite 120
     Las Vegas, NV 89149
11   Ph.: 1-702-463-7777
     Fax.: 1-888-306-7157
12
     E-mail: riggilaw@gmail.com
13   Attorney for Debtor in Possession

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                                     3
